                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION

MICHAEL AMICK and SARA AMICK,                       )
                                                    )
                                      Plaintiffs,   )
       vs.                                          )       Case No. 17-CV-03391
                                                    )
OREGON COUNTY, MISSOURI,                            )
ALTON, MISSOURI, SAM BARTON,                        )
KASS BRAZEAL, MICHAEL JOHNSON,                      )
ERIC KING, DARRIN SORRELL,                          )
TIM WARD, and RUSTY WARREN,                         )
                                                    )
                                      Defendants.   )

                    UNOPPOSED MOTION FOR EXTENSION OF TIME
                     TO RESPOND TO REQUESTS FOR ADMISSION

       COME NOW the Defendants, by and through their undersigned counsel, and state the

following to the Court for their Motion for an Extension of Time to Respond to Requests for

Admission. In support of said Motion, Defendants state as follows:

       1.       Pursuant to the Court’s current Scheduling Order (Doc. No. 46), discovery in this

matter closes May 17, 2019, and trial is set to commence November 12, 2019.

       2.       On February 27, 2019, Plaintiff propounded the following discovery to

Defendants:

             a. One hundred and thirty-three (133) Request for Admissions to Defendant King;

             b. One hundred and thirty-three (133) Request for Admissions to Defendant Ward;

             c. One hundred and thirty-three (133) Request for Admissions to Defendant Sorrell;

             d. One hundred and thirty-three (133) Request for Admissions to Defendant Oregon

                County;

See Certificate of Service at Doc. No. 126.




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       3.       Pursuant to Rule 36 of the Federal Rules of Civil Procedure, these Defendants’

responses to said Requests for Admission are due March 29, 2019.

       4.       Defendants respectfully request an additional thirty (30) days to respond to the

five hundred and thirty-two (532) Requests for Admission propounded by Plaintiff.

       5.       This motion is brought in good faith, and without the intent to prejudice any party

or delay these proceedings. Defendants do not anticipate that the granting of this motion will

require a new trial date, or an extension of any other discovery deadlines.

       6.       Plaintiff’s counsel have been contacted regarding this Motion, and have indicated

no objection.

       WHEREFORE, for the foregoing reasons, Defendants respectfully request the Court

enter an order extending their deadline for responding to Plaintiff’s Requests for Admission until

at least April 29, 2019.



                                              Respectfully submitted,
                                              KECK & AUSTIN, LLC


                                              By:    /s/Matthew D. Wilson
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                                                     King, Ward and Sorrell




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                                CERTIFICATE OF MAILING

             The undersigned hereby certifies that a true and accurate copy of the foregoing
document was sent via ECF and email, this 14th day of March, 2019 to:

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                                                 /s/ Matthew D. Wilson
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